08-12666-mg        Doc 59       Filed 12/08/08       Entered 12/08/08 12:02:05   Main Document
                                                    Pg 1 of 2


LAW OFFICES OF DANIEL M. KATZNER, PC
Daniel M. Katzner (DK9689)
1025 Longwood Avenue
Bronx, NY 10459
Tel.: (718) 589-3999

Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT                                   HEARING DATE: January 6, 2008
SOUTHERN DISTRICT OF NEW YORK                                    HEARING TIME: 11:00 A.M.
----------------------------------------------------------X
In re:                                                           Chapter 7

Pace Product Solutions, Inc.                                     Case No. 08-12666 (MG)


                                    Debtor
---------------------------------------------------------X

    NOTICE OF HEARING ON FIRST AND FINAL APPLICATION OF THE LAW
   OFFICES OF DANIEL M. KATZNER, P.C., AS ATTORNEYS FOR DEBTOR, FOR
     COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND FOR
    REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED
    DURING THE FEE PERIOD FROM JULY 10, 2008 THROUGH JULY 24, 2008

        PLEASE TAKE NOTICE that the debtor, Pace Product Solutions, Inc. (the “Debtor”), by

and through its attorney, The Law Offices of Daniel M. Katzner, P.C. (“Katzner”), filed with the

court a “First and Final Application of The Law Offices of Daniel M. Katzner, P.C., as Attorneys

for Debtor, for Compensation for Professional Services Rendered and for Reimbursement of

Actual and Necessary Expenses Incurred During the Fee Period from July 10, 2008 Through July

24, 2008” for compensation for professional services in the aggregate amount of $7,720.00 and

for reimbursement of actual expenses incurred in connection with the rendition of such services

in the aggregate amount of $1,089.00 (the “Application”).

        PLEASE TAKE FURTHER NOTICE that a hearing on said Application will be held on

January 6, 2008 at 11:00 a.m. before the Honorable Martin Glenn in the courtroom located at the
08-12666-mg     Doc 59     Filed 12/08/08    Entered 12/08/08 12:02:05       Main Document
                                            Pg 2 of 2


United States Bankruptcy Court for the Southern District of New York, Room 501, United States

Customs House, One Bowling Green, New York, New York 10004 (the “Hearing”).

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application must be

filed with the Clerk of the Bankruptcy Court and served no later than 4:00 P.M. on January 2,

2008 on (i) The Law Offices of Daniel M. Katzner, P.C., 1025 Longwood Avenue, Bronx, New

York 10459 (Attn: Daniel M. Katzner, Esq.); (ii) the Office of the United States Trustee, 33

Whitehall Street, 21st Floor, New York, New York 10004 (Attn: Andy Velez-Rivera, Esq.); (iii)

Togut, Togut & Segal, One Penn Plaza, New York, New York 10119 (Attn: Neil Berger, Esq.);

and (iv) Lowenstein Sandler, PC, 1251 Avenue of the Americas, 18th Floor, New York, New

York 10020 (Attn: Bruce Nathan, Esq.).

       PLEASE TAKE FURTHER NOTICE that any objections to the Application must be in

writing, shall conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of the

Bankruptcy Court, and shall be filed with the Bankruptcy Court electronically in accordance with

General Order M-182 (General Order M-182 and the User’s Manual for the Electronic Case

Filing System can be found at www.nysb.ucourts.gov, the official website for the Bankruptcy

Court) by registered users of the Bankruptcy Court’s case filing system and, by all other parties

in interest, on a 3.5 inch disk, preferably in Portable Document Format (PDF), Wordperfect or

any other Windows-based word processing format, with a hard-copy of the same delivered

directly to Chambers.

Dated: Bronx, New York
       December 8, 2008
                                                           /s/ Daniel M. Katzner
                                                           Daniel M. Katzner, Esq. (DK9689)
                                                           Attorney for the Debtor
                                                           1025 Longwood Avenue
                                                           Bronx, NY 10459
                                                           Tel.: (718) 589-3999
